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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                            4:14CR00080-6 KGB


TISAN KEION BATES


                                      ORDER

      On April 23, 2014, the Court ordered Defendant to undergo a psychological

evaluation. Doc. #46. The United States Marshal has informed the Court that

Defendant has been designated to FMC Lexington in Lexington, Kentucky for

examination. Accordingly, the United States Marshal is directed to transport

Defendant to FMC Lexington forthwith.

      IT IS THEREFORE ORDERED THAT:

      (1)    Pursuant to 18 U.S.C. § 4247(b) and (c), Defendant Tisan Keion Bates

is hereby committed to the custody of the Attorney General or his authorized

representative for a period not to exceed thirty (30) days for a psychological

evaluation pursuant to 18 U.S.C. § 4241, and for a period not to exceed forty-five (45)

days for a psychological examination pursuant to 18 U.S.C. § 4242.
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      (2)     Pursuant to 18 U.S.C. § 4247(c), the person conducting the examination

shall file a report with United States District Judge Kristine G. Baker, with copies to

counsel for Defendant and the Government. The Government is represented by

Assistant United States Attorney Chris Givens, U. S. Attorney’s Office, Eastern

District of Arkansas, Post Office Box 1229, Little Rock, AR 72203-1229, and

Defendant is represented by T. David Carruth, Post Office Box 91, Clarendon, AR

72029-0091.

      (3)     The report must state whether Defendant Tisan Keion Bates is suffering

from a mental disease or defect that renders him mentally incompetent to the extent

that he is unable to understand the nature and consequences of the proceedings against

him or to assist properly in his defense; whether he was mentally incompetent at the

time of the offense; and, if he is mentally incompetent, whether his release would

create a substantial risk of bodily harm to another person or serious damage to

property of another person.

      (4)     Following fourteen (14) days from the date the report is received by the

Court and the parties, any party who requests a hearing regarding any issues in the

report or opposes the report must file a motion for a hearing or a motion in opposition,

including a concise statement of opposition to the report and supporting authorities.

If no motions are filed within fourteen (14) days, the Court will enter an Order


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adopting or rejecting the conclusions set forth in the report, and the period of

excludable delay will end. See 18 U.S.C. § 3161(h)(1)(A).

      (5)    The delay occasioned by the examination ordered herein shall be

excludable under the provisions of the Speedy Trial Act as provided by 18 U.S.C. §

3161(h)(1)(A) and (F). Subsection (F) excludes the delay resulting from transportation

to and from places of examination “except that any time consumed in excess of ten

days from the date [of] . . . an order directing such transportation, and the defendant’s

arrival at the destination shall be presumed to be unreasonable[.]”

      Dated this 2nd day of May, 2014.



                                         ___________________________________
                                         UNITED STATES MAGISTRATE JUDGE




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